            Case 1:22-cv-01792-RC Document 10 Filed 03/15/23 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  COMMITTEE OF 100, INC.,

                         Plaintiff,

                  v.                                        Civil Action No. 22-1792 (RC)

  UNITED STATES DEPARTMENT OF
  JUSTICE, et al.,

                         Defendants.



                                      JOINT STATUS REPORT

       Pursuant to the Court’s order dated December 15, 2022, Plaintiff Committee of 100, Inc.

(“Plaintiff”) and Defendants United States Department of Justice (“DOJ”) and the Federal

Bureau of Investigation (“FBI”), by and through undersigned counsel, report to the Court as

follows.

       1.      This action involves a Freedom of Information Act (“FOIA”) request submitted to

the DOJ’s Office of Justice Programs on March 16, 2022, which is attached as Exhibit 2 to the

Complaint, and a FOIA request submitted to the FBI on March 15, 2022, which is attached as

Exhibit 5 to the Complaint. The request to DOJ’s Office of Justice Programs contains two parts,

whereas the request to the FBI contains 11 parts.

       2.       As stated in a prior status report, with respect to the request to the DOJ’s

Office of Justice Programs, that office made its first interim production to the Plaintiff on

October 25, 2022, and its second interim production to the Plaintiff on November 22, 2022.

Since the last status report, that office has made subsequent productions on December 21, 2022,

January 25, 2023, and February 24, 2023, and expects to make its next production on or about
            Case 1:22-cv-01792-RC Document 10 Filed 03/15/23 Page 2 of 3




March 24, 2023. DOJ’s Office of Justice Programs has completed its search for potentially

responsive records, and estimates that approximately 2,885 potentially responsive pages remain

to be processed.

       3.      With respect to the FBI request, the FBI states that it has completed its search and

processing of all records containing only FBI equities. The FBI made interim releases on January

26, 2023, and February 24, 2023, reviewing 875 pages and releasing 766 pages in whole or in

part. Additionally, the FBI sent a consultation to another government agency, and anticipates

making its final release of consulted pages on March 24, 2023. This will conclude the FBI’s

processing.

       4.      In light of the above, the parties propose that they file a further status report on

May 16, 2023, and that the Court defer setting a briefing schedule at this time.

                                      Respectfully submitted,

                                      /s/ Josh Loevy
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                                                  2
Case 1:22-cv-01792-RC Document 10 Filed 03/15/23 Page 3 of 3




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                              3
